     Case 1-18-44202-ess        Doc 39     Filed 02/14/20     Entered 02/14/20 11:17:49



                                                          tmd3574/db
 UNITED STATES BANKRUPTCY COURT                           March 9, 2020
 EASTERN DISTRICT OF NEW YORK                             09:00 AM
 ==================================X
 IN RE:                                                   Case No. 118-44202-ESS

 VANESSA V DEBELLOTTE,                                    Hon. ELIZABETH S. STONG
 aka Vanessa Harris

                                                          NOTICE OF MOTION
                  Debtor.
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Hon. Elizabeth S. Stong, U.S. Bankruptcy
Judge, at the United States Bankruptcy Court, at       271 Cadman Plaza East, Brooklyn, NY,
Courtroom 3585 on March 9, 2020 at 09:00 AM or as soon thereafter as counsel can be heard,
for an order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13 case and for such other
and further relief as may seem just and proper.
                Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.

Date: Jericho, New York
      February 14, 2020

                                                    /s/ Marianne DeRosa
                                                    MARIANNE DeROSA, TRUSTEE
                                                    100 JERICHO QUADRANGLE, STE 127
                                                    JERICHO, NY 11753
                                                    (516) 622-1340
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 UNITED STATES BANKRUPTCY COURT                           March 9, 2020
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 ==================================X
 IN RE:                                                    Case No: 118-44202-ESS

 VANESSA V DEBELLOTTE                                      Hon. ELIZABETH S. STONG
 aka Vanessa Harris

                                                           APPLICATION
                  Debtor.
 ==================================X


TO THE HONORABLE ELIZABETH S. STONG U.S. BANKRUPTCY JUDGE:

       MARIANNE DEROSA, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on July 20,
2018, and, thereafter, MARIANNE DEROSA was duly appointed and qualified as Trustee.

       2. As of the date of this motion, the Debtor has failed to:

              a. provide the Trustee with proof of post-petition mortgage payments seven
                 business days before the first meeting of creditors as required by E.D.N.Y. LBR
                 2003-1(a)(vi);

              b. provide the Trustee with proof of post-petition mortgage payments seven days
                 before the first date set for confirmation of the Chapter 13 Plan as required by
                 E.D.N.Y. LBR 2003-1(b)(i);

              c. comply with 11 U.S.C. §1325(a)(6) in that the Debtor has not submitted timely
                 Chapter 13 plan payments to the Trustee, and is $600.00 in arrears through
                 and including February 2020.

        3. The Plan cannot be confirmed and as a result a delay has occurred that is
prejudicial to the rights of creditors. The case must be dismissed under 11 U.S.C. § 1307(c)(1)
and (c)(5).

      4.    Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: Jericho, New York
       February 14, 2020
                                                            s/Marianne DeRosa
                                                            Marianne DeRosa
                                                            Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 118-44202-ESS
IN RE:
                                                               CERTIFICATE OF NOTICE
 VANESSA V DEBELLOTTE
 aka Vanessa Harris

                                       Debtors.
-----------------------------------------------------------X

         I, Dani M. Boyer, declare under penalty of perjury that I have sent the attached document to the below
listed entities in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the
best of my information and belief.

Notice by first class mail was sent to the following persons/entities:

VANESSA V DEBELLOTTE
107-07 WATSON PLACE
JAMAICA, NY 11433


Notice by electronic transmission generated by the ECF system to the following person/entities pursuant to
Bankruptcy Rule 9036:

NORMA E. ORTIZ, ESQ., email@ortizandortiz.com

Caliber Home Loans, c/o Gross Polowy, LLC, cwilliams@grosspolowy.com

U.S. Bank Trust, N.A., c/o RAS Crane LLC, ktoole@rascrane.com




Transmission times for electronic delivery are Eastern Time zone.

This February 14, 2020


/s/Dani M. Boyer
Dani M. Boyer, Senior Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
100 Jericho Quadrangle; Ste 127
Jericho, NY 11753
(516) 622-1340
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CASE NO: 118-44202-ESS
Hon. ELIZABETH S. STONG

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

VANESSA V DEBELLOTTE
aka Vanessa Harris

                  Debtor.
=======================================================================

            NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                        MARIANNE DeROSA, TRUSTEE
                     100 JERICHO QUADRANGLE, STE 127
                             JERICHO, NY 11753
                               (516) 622-1340
